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 6

 7

 8                             UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10
     BACKGRID USA, INC.,                           Case No.: 2:21-cv-1598
11
                  Plaintiff,                       COMPLAINT FOR COPYRIGHT
12
     v.                                            INFRINGEMENT
13
     KSUBI SALES INTERNATIONAL                     Jury Trial Demanded
14   PTY LTD.,
15                Defendant.
16

17

18         Plaintiff BackGrid USA, Inc., for its Complaint against defendant Ksubi Sales
19   International Pty Ltd., alleges as follows:
20         1.     This is an action for copyright infringement brought by BackGrid, the
21   holder of the copyrights to the photographs described below, against defendant for
22   uses of BackGrid’s photographs without authorization or permission.
23                                      JURISDICTION
24         2.     This action arises under the Copyright Act of 1976, Title 17 U.S.C.
25   § 101 et seq. This Court has jurisdiction over the subject matter of this action under
26   28 U.S.C. § 1331 (federal question) and § 1338 (copyright).
27   ///
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                                            COMPLAINT
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 1         3.     On information and belief, defendant and/or its agents committed the
 2   infringement described below using individuals and/or instrumentalities located
 3   within the United States.
 4                                          PARTIES
 5                                           Plaintiff
 6         4.     Plaintiff BackGrid USA, Inc. is an entity organized and existing under
 7   the laws of the state of California with its principal place of business in Redondo
 8   Beach, California. BackGrid is a global premier celebrity news and photo agency that
 9   provides the world’s top news outlets with real-time content from the world’s top
10   photographers.
11         5.     BackGrid also maintains a library of photographs on a diverse range of
12   subjects including celebrities, music, sports, fashion, and royalty. BackGrid licenses
13   its photographs to leading magazines, newspapers, and editorial clients, throughout
14   the world, including in the United States and in California.
15         6.     BackGrid conducts business as a syndicator of photos and photo features
16   of popular content. The business model is predicated on licensing the use of work to
17   many different licensees, each of which pays a fee to publish.
18                                          Defendant
19         7.     On information and belief, Ksubi is an entity organized and existing
20   under the laws of the nation of Australia with its principal place of business in the
21   state of New South Wales, Australia.
22         8.     Ksubi is an Australian fashion label and apparel brand renowned for its
23   signature denim and what it calls a “deliberate unfussy style.”
24         9.     Ksubi retails clothing on its website https://www.ksubi.com, but also
25   operates a limited number of brick-and mortar stores. Particularly, Ksubi caters to
26   celebrities and other social elites—including high-profile individuals in the United
27   States and Hollywood in particular—with stores in New York and Los Angeles that
28   market its “coveted” styles to those individuals.
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                                            COMPLAINT
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 1         10.    On information and belief, defendant Ksubi is the owner and operator of
 2   the Instagram account @ksubi.
 3                                      Personal Jurisdiction
 4         11.    The Court has personal jurisdiction over defendant Ksubi under Fed. R.
 5   Civ. P. 4(k)(2) because, on information and belief, Ksubi is not subject to jurisdiction
 6   in any state’s courts of general jurisdiction but has minimum contacts with the United
 7   States such that exercising jurisdiction here would be consistent with the United
 8   States Constitution and laws.
 9                                             Venue
10         12.    Venue is proper in this district under 28 U.S.C. § 1391(b)(1), (b)(2),
11   and/or (b)(3), as well as 28 U.S.C. § 1400(a).
12                                   BACKGROUND FACTS
13                               The Copyrighted Photographs
14         13.    BackGrid is the owner and copyright holder of nine photographic
15   images (“Photographs”) as follows:
16                a.    Image 1 depicts The Weekend in a black jacket and pants going to
17         dinner with model Bella Hadid;
18                b.    Images 2 through 5 depict Hailey Bieber in denim pants and a
19         black shirt out in public;
20                c.    Image 6 depicts Ben Simmons with Kendall Jenner walking on
21         the beach;
22                d.    Images 7 and 8 depict Olivia Culpo in denim pants and a white
23         shirt in Miami;
24                e.    Image 9 depicts The Weekend in a denim jacket and black jeans
25         in Sydney, Australia.
26         14.    Image 1 was registered to BackGrid with the U.S. Copyright Office with
27   Registration No. VA 2-164-922 (eff. Aug. 13, 2019) in compliance with the
28   Copyright Act.
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                                             COMPLAINT
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 1         15.   Images 2 through 5 were registered to BackGrid with the U.S. Copyright
 2   Office with Registration No. VA 2-149-325 (eff. Apr. 15, 2019) in compliance with
 3   the Copyright Act.
 4         16.   Image 6 was registered to BackGrid with the U.S. Copyright Office with
 5   Registration No. VA 2-127-085 (eff. Nov. 12, 2018) in compliance with the
 6   Copyright Act.
 7         17.   Images 7 and 8 were registered to BackGrid with the U.S. Copyright
 8   Office with Registration No. VA 2-125-120 (eff. Oct. 12, 2018) in compliance with
 9   the Copyright Act.
10         18.   Image 9 was registered to BackGrid with the U.S. Copyright Office with
11   Registration No. VA 2-086-186 (eff. Jan. 24, 2018) in compliance with the
12   Copyright Act.
13         19.   On information and belief, the Photographs were originally published
14   under license to various media publications, and when published, they contained
15   copyright management information (“CMI”). The copy of the Photograph distributed
16   on Instagram had been altered, without authorization or approval, to remove the CMI
17   showing plaintiff as the copyright owner of the images.
18                               Defendant’s Infringements
19         20.   BackGrid never licensed the Photographs to defendant. Nevertheless,
20   defendants used the Photographs without authorization or permission from BackGrid
21   to do so.
22         21.   Specifically, Ksubi copied the Photographs then displayed them on
23   Instagram via the @ksubi account on the following dates:
24               a. Image 1 was posted to Instagram on June 11, 2019;
25               b. Images 2 and 3 were posted to Instagram on January 23, 2019;
26               c. Images 4 and 5 were posted to Instagram as a “story” on January 23,
27                    2019;
28               d. Image 6 was posted to Instagram on August 19, 2018;
                                              4
                                          COMPLAINT
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 1                e. Images 7 and 8 were posted to Instagram on July 17, 2018;
 2                f. Image 9 was posted to Instagram as a “story” on September 25, 2018.
 3         22.    On information and belief, the copies of the Photographs that Ksubi
 4   displayed on Instagram had been altered or “cropped” so that the CMI was removed
 5   and no longer visible.
 6         23.    Ksubi has nearly 200,000 Instagram followers and its Instagram feed is
 7   open and viewable to the public.
 8         24.    On information and belief, Ksubi’s display of the Photographs on
 9   Instagram were for the purpose of promoting its products, which were featured being
10   worn by celebrities in the Photographs.
11                      Defendant’s Infringements Harmed BackGrid
12         25.    The Photographs are creative, distinctive, and—as evidenced by
13   defendant’s use and misappropriation of them—valuable. Because of the celebrity
14   status of the people depicted in them, and the Photographs’ quality and visual appeal,
15   BackGrid stood to gain revenue from licensing the Photographs.
16         26.    But defendant’s unauthorized use of the Photographs harms the existing
17   and future market for the Photographs. Defendant’s Instagram posts and story posts
18   made the Photographs immediately available to their nearly 200,000 followers and
19   others, including consumers of athletic apparel and celebrity news, who would
20   otherwise be interested in viewing licensed versions of the Photographs in the
21   magazines and newspapers that are plaintiff’s customers.
22         27.    Defendant’s unauthorized use of the Photographs also harms BackGrid’s
23   business model by driving down the prices for legitimately licensed celebrity images
24   and driving away BackGrid’s actual and potential customers. BackGrid’s
25   customers—among them, media companies who pay large license fees for celebrity
26   visual content—are less likely to purchase licenses, or pay as much for a license,
27   when the same visual content will be widely distributed simultaneously on publicly
28   available social media.
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                                           COMPLAINT
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 1         28.    In addition, Defendant’s unauthorized uses of the Photographs is
 2   commercial in nature. Ksubi uses its Instagram feed for the purposes of promotion
 3   and advertising—specifically, to promote its own business interests and products.
 4   Indeed, on information and belief, Ksubi specifically posted the Photographs on
 5   Instagram to advertise the Ksubi apparel worn by well-known celebrities.
 6   Accordingly, Ksubi stood to gain from posting the Photographs because the
 7   association with celebrities would elevate the Ksubi brand and consequently the
 8   products worn by them. In short, by associating their brand with well-known
 9   celebrities, Ksubi increased their brand visibility and status.
10         29.    At the time that defendant copied and distributed the Photographs,
11   defendant knew or should have known that they did not have authorization or
12   permission to do so.
13         30.    Defendant did not disclose their unauthorized uses of the Photographs to
14   plaintiff or seek permission to use the Photographs. But for plaintiff’s discovery of
15   the defendant’s unauthorized uses, their infringements would still be concealed.
16                                        CLAIM ONE
17                               (For Copyright Infringement)
18         31.    Plaintiff realleges and incorporates by reference the allegations
19   contained in the preceding paragraphs of this Complaint as if fully set forth here.
20         32.    BackGrid is the author and or/copyright owner of the protected
21   Photographs named above in this Complaint.
22         33.    Defendant has reproduced, displayed, distributed or otherwise copied the
23   Photographs without BackGrid’s authorization or license.
24         34.    The foregoing acts of defendant infringed upon the exclusive rights
25   granted to photographers under 17 U.S.C. § 106 to display, reproduce, and distribute
26   their work to the public. Such actions and conduct constitute copyright infringement
27   in violation of 17 U.S.C. §§ 501 et seq.
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                                            COMPLAINT
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 1         35.     BackGrid has complied in all respects with 17 U.S.C §§ 101 et seq. and
 2   secured and registered the exclusive rights and privileges in and to the copyrights of
 3   the above-referenced works in accordance with 17 U.S.C § 408.
 4         36.     BackGrid suffered damages as a result of defendant’s unauthorized use
 5   of the Photographs.
 6         37.     Having timely registered his copyright in the Photographs, BackGrid is
 7   entitled to elect statutory damages under 17 U.S.C. § 412 and § 504(c), in an amount
 8   of not less than $750 or more than $30,000 per infringement of each work registered
 9   before the infringements.
10         38.     BackGrid alleges, on information and belief, that that defendant’s
11   actions were intentional or in reckless disregard of plaintiff’s copyrights, and that
12   such actions support an award of enhanced statutory damages for willful infringement
13   under the Copyright Act, 17 U.S.C. § 504(c)(2), in the sum of up to $150,000 per
14   infringed work.
15         39.     In the alternative, BackGrid is entitled to recovery of its actual damages
16   and Defendants’ profits attributable to the infringement of the Photographs, under 17
17   U.S.C. § 504(b).
18         40.     Within the time permitted by law, BackGrid will make its election
19   between actual damages and profit disgorgement, or statutory damages.
20         41.     BackGrid is also entitled to a discretionary award of attorney fees under
21   17 U.S.C. § 412 and § 505.
22                                         CLAIM TWO
23               (For Vicarious and/or Contributory Copyright Infringement)
24         42.     Plaintiff realleges and incorporates by reference the allegations
25   contained in the preceding paragraphs of this Complaint as if fully set forth here.
26         43.     If defendant is not liable as direct infringers of the Photographs, it is
27   secondarily liable for the infringements directly committed by individual employee,
28   contractor, or other infringers presently unknown (the “Direct Infringers”).
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                                             COMPLAINT
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 1            44.   Defendant contributed to, induced, or assisted infringements by the
 2   Direct Infringers. Those Direct Infringers infringed while acting under defendant’s
 3   direction and control and/or using technology, facilities, and support services
 4   provided by defendant.
 5            45.   Defendant had, or should have had, knowledge of the infringements of
 6   the Direct Infringers. Further, the Photographs were published on defendant’s
 7   Instagram account and defendant was, or should have been, aware of that fact. As the
 8   owner of the Instagram account, defendant knew or should have known that they did
 9   not have licenses to use Photographs.
10            46.   Defendant had the right and ability to supervise the infringing activity
11   that all the Direct Infringers committed because the infringements occurred on its
12   Instagram account.
13            47.   Defendant obtained some financial benefit from the infringement of
14   BackGrid’s rights in the Photographs because the Photographs were a draw for
15   viewers regardless of the revenue received from any specific use and because the
16   Photographs encouraged viewed to purchase defendant’s products. Accordingly,
17   defendant had an incentive to permit and even encourage infringement by the Direct
18   Infringers.
19            48.   As a direct and proximate result of said acts of secondary infringement,
20   BackGrid has suffered substantial damages in an amount to be proven at trial.
21            49.   BackGrid is entitled to actual damages and disgorgement of direct and
22   indirect profits realized by defendant in an amount to be proven at trial or, at its
23   election, statutory damages.
24            50.   Within the time permitted by law, BackGrid will make his election
25   between actual damages and profit disgorgement, or statutory damages.
26            51.   Plaintiff is further entitled to attorney fees and costs under 17 U.S.C.
27   § 505.
28            52.
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                                              COMPLAINT
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 1                                       CLAIM THREE
 2        (For Alteration of Copyright Management Information in Violation of
 3                                       17 U.S.C. 1202)
 4         53.     Plaintiff realleges and incorporates by reference the allegations
 5   contained in the preceding paragraphs of this Complaint as if fully set forth here.
 6         54.     On information and belief, defendant, or someone acting on their behalf,
 7   removed or altered copyright management information (“CMI”) from the
 8   Photographs without authorization of plaintiff or the law and then distributed the
 9   Photographs, with the CMI removed or altered, without the authorization of plaintiff
10   or the law.
11         55.     On information and belief, defendant’s removal or alteration of the CMI
12   from the Photographs was intentional, and defendant’s distribution of the
13   Photographs was with knowledge that the CMI had been removed or altered without
14   authorization.
15         56.     Defendant’s actions alleged above constitute a violation of 17 U.S.C.
16   § 1202.
17         57.     Plaintiff has suffered damages as a result of defendant’s violation of
18   17 U.S.C. § 1202.
19         58.     Within the time permitted by law, plaintiff will make its election
20   between actual damages and statutory damages.
21                                  PRAYER FOR RELIEF
22   WHEREFORE, BackGrid requests the following:
23         A.      For a preliminary and permanent injunction against defendant and
24   anyone working in concert with them from further copying, displaying, distributing,
25   selling, or offering to sell plaintiff’s Photographs described in the Complaint;
26         B.      For an order requiring defendant to account to plaintiff for their profits
27   and any damages sustained by plaintiff arising from the acts of infringement;
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                                             COMPLAINT
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 1         C.     As permitted under 17 U.S.C. § 503, for impoundment of all copies of
 2   the Photographs used in violation of plaintiff’s copyrights—including digital copies
 3   or any other means by which they could be used again by the defendant without
 4   plaintiff’s authorization—as well as all related records and documents.
 5         D.     Under 17 U.S.C. § 1203, for actual damages for the unauthorized
 6   alteration or removal of copyright information or, where applicable and at plaintiff’s
 7   election, statutory damages of not less than $2,500 or more than $25,000.
 8         E.     For actual damages and all profits derived from the unauthorized use of
 9   plaintiff’s Photographs or, where applicable and at plaintiff’s election, statutory
10   damages.
11         F.     For an award of pre-judgment interest as allowed by law;
12         G.     For reasonable attorney fees.
13         H.     For court costs, expert witness fees, and all other amounts authorized
14   under law.
15         I.     For such other and further relief as the Court deems just and proper.
16                                 JURY TRIAL DEMAND
17         BackGrid demands a trial by jury of all issues permitted by law.
18

19    Dated: February 21, 2021        PERKOWSKI LEGAL, PC
20

21                                    By:     /s/ Peter Perkowski
                                             Peter E. Perkowski
22
                                             Attorneys for Plaintiff
23                                           BACKGRID USA, INC.
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                                            COMPLAINT
